Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 1 of 18



                                 Exhibit C

 RELEASE AND SETTLEMENT AGREEMENT, DATED AS OF FEBRUARY 11, 2022, BY
  AND AMONG (I) WHITEFISH ENERGY HOLDINGS, LLC, (II) PREPA, AND (II) THE
FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO, AS TITLE
                     III REPRESENTATIVE OF PREPA
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 2 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 3 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 4 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 5 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 6 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 7 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 8 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                           Exhibit C Page 9 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 10 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 11 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 12 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 13 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 14 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 15 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 16 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00   Desc:
                          Exhibit C Page 17 of 18
Case:17-03283-LTS Doc#:23507-3 Filed:02/09/23 Entered:02/09/23 17:44:00          Desc:
                          Exhibit C Page 18 of 18
Execution Copy


      IN WITNESS WHEREOF, the Parties have executed this Agreement, effective as of

the latest date set forth below.

FOR WHITEFISH ENERGY HOLDINGS, LLC:


_______                  _________________
Name:
Title: Chief Executive Officer

DATED: ________________                 ___


FOR PUERTO RICO ELECTRIC POWER AUTHORITY:


_______________________________________
Name:
Title:

DATED: _______________________________


FOR FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO:


_______________________________________
Name: Natalie A. Jaresko
Title: Executive Director

DATED: __2/11/22_______________________




                                          16
